Filed 02/13/19                                     Case 18-14882                                             Doc 22



                                      UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF CALIFORNIA


           In re                                         )   Case No. 18-14882 - A - 7
           Jennifer Noel Lund,                           )   Docket Control No. NLL-1
                                     Debtor.             )   Document No. 12
                                                         )   Date: 02/13/2019
                                                         )   Time: 9:00 AM
                                                         )   DEPT: A

                                                        Order
           Findings of fact and conclusions of law are stated in the civil
           minutes for the hearing.
            
           Pacific Union Financial, LLC’s motion for relief from the automatic
           stay has been presented to the court. Having entered the default of
           respondent for failure to appear, timely oppose, or otherwise defend
           in the matter, and having considered the well-pleaded facts of the
           motion,
            
           IT IS ORDERED that the motion is granted. The automatic stay is
           vacated with respect to the property described in the motion,
           commonly known as 7217 Hilton Head Way Bakersfield, California, as to
           all parties in interest. The 14-day stay of the order under Federal
           Rule of Bankruptcy Procedure 4001(a)(3) is waived. Any party with
           standing may pursue its rights against the property pursuant to
           applicable non-bankruptcy law.
            
           IT IS FURTHER ORDERED that no other relief is awarded. To the extent
           that the motion includes any request for attorney’s fees or other
           costs for bringing this motion, the request is denied.


                     Feb 13, 2019




           [12] - Motion for Relief from Automatic Stay [NLL-1] Filed by Creditor Pacific Union Financial,
           LLC (Fee Paid $181) (eFilingID: 6421900) (mpem)
